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                                                                  Continuation of
    Ilya Chebotar                                                                     ESCROW ACCOUNT DISCLOSURE STATEMENT



                                                           Escrow Account History
    The following is a review of your escrow account activity. It also compares the projections from your last review with the actual payments made
    from your escrow account.
    (*) An asterisk indicates a difference between your projected and actual account activity.
    (E) The payment or disbursement has not yet occurred, but is estimated to occur as shown.

                    Payments to Escrow                         Payments from Escrow                                             Escrow Balance
    Month           Projected     Actual       Projected    Description          Actual        Description                  Projected       Actual

                                                                                               Beginning Balance             1,579.68      -9,990.58
    AUG              197.46         0.00 *                                                                                   1,777.14
    SEP              197.46         0.00 *                                                                                   1,974.60
    OCT              197.46         0.00 *                                                                                   2,172.06
    NOV              197.46         0.00 *                                                                                   2,369.52
    DEC              197.46         0.00 *                                                                                   2,566.98
    JAN              197.46         0.04 *       2,369.52 City Tax                  2,454.69 *City Tax                         394.92     -12,445.23
    FEB              197.46         0.02 *                                                                                     592.38     -12,445.21
    MAR              197.46         0.03 *                                                                                     789.84     -12,445.18
    APR              197.46         0.00 *                                                                                     987.30
    MAY              197.46         0.00 *                                                                                   1,184.76
    JUN              197.46    12,778.08 E                                                                                   1,382.22         332.90
    JUL              197.46     1,161.63 E                                                                                   1,579.68       1,494.53




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                                    CERTIFICATE OF SERVICE
                              Eastern District of Pennsylvania

       I,   Michael J. Ransom       , of Branch Banking & Trust Company, PO Box 1847, Wilson, NC
27894, do hereby certify:

   That I am more than eighteen (18) years of age and:

   That on the 3rd day of            July           , 2013 , I served a copy of the within “NOTICE OF
MORTGAGE PAYMENT CHANGE" filed in this bankruptcy matter on the respondent(s) in this
bankruptcy matter by depositing a copy thereof in the United States Mail with adequate postage affixed
thereon addressed to the said respondent(s) at:


US Bankruptcy Court
900 Market Street, Suite 400
Philadelphia, PA 19107


 William C. Miller, Chapter 13 Trustee
 111 South Independence Mall, Suite 583
 Philadelphia, PA 19106



Michael A Cataldo2, Attorney at Law
1500 Walnut Street, Suite 900
Philadelphia, PA 19102



 Ilya Chebotar
 14 Simons Way
 Huntingdon Valley, PA 19006




     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

             07/03/2013
Executed on ___________________        Michael J. Ransom
                                By: /s/________________________________
          (date)                (signature)




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